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      IN TM DISTRICT COURT OF TM UMTED STATES

                           for the Western Di*ria of New York
                                                           OCTOBER 2OI9 GRAND JT]RY
                                                           (Impaneled l0 / 18 / 2019)


    TMUNITEDSTATESOFAMERICA                                SECOND     21-MJ-6112-AOV
                                                           SIJPERSEDING
           -vs-                                            INDICTMENT
                                                           t9-cR-227-[LS
    JOSEPH BONGIOVANNI
     (Counts 1-5,8, 10-18), and                            Violations:

                                                           Title 21, United States Code,
    PETER GERACE JR.                                       Sections 846, 841(a)(l), arrA'gSO(uXt);
     (Counts 2,6-9)                                        Title 18, United States Code, Sections
                                                           37 1, 201(bX1)(C), 201 OX2XA),
                                                           20IOX2XC), l00l(a)(2), 1519, and
    ,"m:nlYr*roti+trF**-                                    1594(c)
                                                            (18 Counts and 4 Forfeiture Allegations)
          FEB   95   202


                                           II{IBODUCTIAN
     EY

                                      The Grand Jury Charges That:

   As relevant to this Indictrnent:

           l.Thedefendant,JOSEPHBONGIOVANMC'BONGIOVANNI"),beganhis

    career in law enforcemelt as an Erie County Sheriff Deputy in or about 1995'
                                                                                      ln or about

    1998, the defendant BONGIOVANNI joined the Drug Enforcement Administration

    (,DEA)   as a special    Agent ("SA") and his career with the DEA took him out of the Buffalo

    area for a period of time. In or about 2001, until his retirement on or
                                                                            about February L,2019,

    the defendant   BoNGIOVANM was assigned to Buffalo, New York, DEA Resident office.



           2.AsaDEASA,thedefendantBoNGIovANMwasa..publicofficial,,as
    defined in Title 18, United States Code, Section 201(a)(1)'
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         3.ThedefendantBoNclovANNlhadfriendsandassociateswhohelnewwere
                                                                            substances' The
   involved in possession, use, distribution, and importation of controlled
                                                            involved in possession, use,
   defendant BONGIOYANNI',s friends and associates who were

   and distribution, and importation of controlled substances, included, among
                                                                                        others,


   individuals he believed to be members of, connected to, or associated with
                                                                              Italian Organized

   Crime QOC) in the Westem District of New York and elsewhere'



          4.PETERGERACEJR.(.GERACE,'),isafriendandassociateofdefendant

   BONGIOVANNI. GERACE, for a period of time, was on supervision by the United           States


                                                      York. GERACE is also the owner        and
   Probation OfEce for the Westem District of New

   principal operator of Pharaoh's Gentlemen's Club ("Pharaoh's"), located at 999 Aero Drive,

   cheektowaga, New York. GERACE employs topless dancers, bartenders, bouncers,

   managers, and kitchen staff at Pharaoh's where food, beverages, and dances
                                                                              with topless

   dancers are sold to patrons. Several     of GERACE's male employees at Pharaoh's          are


    members of a motorcycle club called the outlaws Motorcycle club
                                                                    ("outlaws MC").



           5.     Michael Massecchia ("Masecchia"), is a friend and associate of defendant

    BONGIOVANM and is a member or associate of Ioc in the westem District of New York,

    and elsewhere. Massecchia has been involved in the possession
                                                                  with intent to distribute, and

                                                                             Westem District of
    distribution of, controlled substances for over twenty (20) years in the

    New York and elsewhere. Massecchia had been a target or subject of several
                                                                               DEA         cases


                                                                   but Massecchia was
    during defendant BoNGIOVANNI',s tenure as a DEA special agent,

    neverarrestedorchargedinanyDEAcasesorinvestigationsduringdefendant
    BONGIOVANNI'S tenure as a DEA special agent'


                                                  2
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         6.TheDEAwasanagencywithinttreexecutivebranchoftheGovemmentofthe
                                                           things, investigating narcotics
   United States, and the DEA is charged with, among other

   traffickingactivityandenforcingthecontrolledsubstancelawsoftheUnitedStates.TheDEA

   requireditsSAstoupholdtheruleoflaw,andtoactwithintegrityintheirpersonaland
   professional actions.



                                                                              in the
          7.     As a DEA SA, the defendant BoNGIOVAI{M was specially trained

   investigation of tlrug traf[cking activity and was familiar Yrith
                                                                     DEA policy, record keeping,

   procedures, and databases.




          S.ThelawfirlfunctionsandofficialdutiesofDEASAsincluded,butwerenot
                                                                                 and DEA
    timited to, initiating and conducting investigations; interviewing witnesses

    confidential soruces; potecting the identity of witnesses and DEA
                                                                      confidential sources;

    protecting the integrity, confitlentiality, and operational security   of federal and state

    investigations; collecting and preserving evidence; preparing authfirl
                                                                           and accurate DEA

    memorandaandreports;preparingsearchwarrantandcriminalcomplaintaffidavits'

    documenting information that was helpfid to current and future
                                                                   DEA investigations; arresting

                                                               preparing and proposing DEA cases
    indivitluals who had violated federal and state drug laws;

    forprosecution;an.lactingwithhonestyandintegrityintheirlepresentationsand
    communications with prosecutors and other members of law enforcement'



           g.ThedefendantBoNGlovANM,throughtrainingandexperience'was
                                                                 conducted drug trafficking
    familiat with how the DEA and other law enforcement agencies

     investigations, and how    DEA agents and other law enforcement ofEcers utilized         de-




                                                  .,
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                                                                     other agents and law
   conflicdon databases as a means to coordinate investigations with

   enforcement agencies.



           10.De-conflictiondatabasesenabledlawenforcementomcelsconductingan

   investigation of a specific individual or specific individuals to be alerted
                                                                                       if   another law

   enforcement officer       or   agency had an investigative interest   in the   same individual or

    individuals.



                                                 COI'NT    1


                                  (Conspiracy to Defraud the United States)

                                   The Grand Jury Further Charges That:

            l.Theallegationsoftrelntroductionarerepeatedandre-allegedand
    incorporated by reference as if set forttr fully herein'



            2.         Beginning in or about 2008 and continuing until in or about August 2019, the

    exact dates being unlrrown,         in the Westem District of New York, and elsewhere, the
                                                                            combine,
    defendant, JOSEPE BONGIOVANNI, did knowingly, willfully, and unlawfully

    conspire,andagreewithMichaelMasecchiaandothers,knownandunknown:

            a,         to defraud the United States and the Drug Enforcement Administration @EA),

                                                                                 of deceit, craft,
    an agency of the united states, by interfering with and obstructing by means

    and trickery, the lawfrrl and legitimate govemmental functions and
                                                                       rights of the DEA, that is:



                   1          *re right to have its business and its affairs, and the transaction
                              of thI official business of the DEA conducted honestly and
                              impartially, free ftom comrption, fraud, improper and undue
                              infiuence,-dishonesty, unlawful impairment and obstruction; and



                                                       4
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              u.     the right to the conscientious, loyal, falthful, d-isinterested
                     ,nUiur.a services, decisions, actions and performance of his
                     duties by the defendant, JOSEPE BONGIOVANM, in his
                     official capacity as a DEA SA free from comrption, partiality'
                     improper influerce, bias, dishonesty and fraud in dealing with
                     ttre DEA and other law enforcement agencres;


                                                                                            value to
           b.      directly and indirectly, comrptly to give, offer, and promise a thing of

                                                                                omit to do aa act      in
    a public officiat, with intent to induce a public official to do an act and

    violation ofhis lawfirl duty   as   opportunities arose, in violation ofTitle 18, United States Code,

    Section 201(bX1)(C); and

           c.      tlirectly and indirectly, corruptly to demand, seek, receive, accept, and agree to

                                                                                        act and
    receive and acce?t, athing of value personally, in retum for being indUced to do an

    omit to do an act in violation of official duty as opportunities arose, in violation of Title
                                                                                                  18,


    United States Code, Section 201(bX2XC).



                                            MANNERANDMEANS

            3      The conspiracy was carried out by the Manner and Means set forth below'




            4.      It was part ofthe conspiracy that, in order to build trust and maintain continuity

     with his coconspirators, the defendant BONGIOVANM did not investigate his friends and
                                                                           shield his friends and
     associates and used his position as a DEA SA in Buffalo, New York, to

                                                                                to or associated
     associates, and others including Masecchia, who he believed were connected

     with IOC, from criminal investigations.



            5.Itwaspartoftlreconspiracythat,inexchangeforpaymentshereceivedandin

     order to ingratiate himself to individuals whom he believed were members
                                                                              and associates            of
                                                                                    I
     IOC, the defendant BONGIOVANM utilized his position as a DEA SA to attempt to
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                                                             investigations of6 his
                                                                                of 45
  dissuade other members of law enforcement: from conducting
                                                                     believed to be connected to
   coconspirators, friends, associates and individuals the defendant
                                                               from conducting investigations
   or associated with IOC, including Masecchia and others; and
                                                                      activities and those of his
   into any individuals who may have been able to expose his criminal
                                                                  be connected to or associated
   friends, associates, and individuals the defendant believed to

   with IOC.



            6.Itwaspartoftheconspiracythat,inexchangeforpaymentshereceived'and
                                                                          associated with IOC' the
   to ingratiate himself to individuals he believed to be connected to or
                                                         gain and provide information
   defendant BONGIOVANM used his position as a DEA SA to
                                                                                to be cooperating
   about federal investigations, and about individuals cooperating or suspected
                                                                               to continue their
   with law enforcement, to enable his coconspirators, friends, and associates

    tlrug trafficking activities without disruption by law enforcement'



            T.Itwaspartoftheconspiracythat,betweeninorabout2008andinorabout

    2017,   in   exchange for bribes totaling approximately at least $250,000    in United   states


    currencypaidbyMasecchia,workingwithothers,thedefendantBONGlovANMusedhis

    positionasaDEASAtoprotectthecoconspiratordrugtrafEckerswhowerepayinghim

    bribes and their associates



            8.       It   was part of the conspiracy that the defendant   BONGIOVANM was paid

    bribesbyMasecchia,whowasworkingwithothers,onarectxringbasisinexchangefor
                                                         provided information desigrred
    regular debriefings whereby the defendant BONGIOVANM

    to plotect and conceal the drug trafrcking activities of his friends, associates, and
     coconspirators.

                                                      6
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         g. It was part of the conspiracy that' utilizing state and DEA de-confliction
   databases,thedefendantBoNGloVANMwouldbealertedwhenotherageotswerelooking

   atthedrugffamckingactivityofinttividualsassociatedwithtlredefendantBoNGlovANM

   or under his Protecdon.



                                                                            he received and in
          10.    It was part of the conspiracy that' in exchange for bribes

   oldertocreatetheappeanceofalegitimateDEAinvestigationandtomaximizehisabiliry
                                                                 of other law er:forcement agents
   to utilize de-confliction databases to monitor the activities
                                                        agents or agencies successfrrlly
   and agencies, and to ensure no other law enforcement

   investigatedthedrugtraffickersunderthedefendantBONGIOVANNI'spaidprotection'the

    defendantBoNGlovANNlinitiatedaDEAcasefileinthenamesofcoconspiratordrug
                                                         protection bribes'
    traffickers who were paying the defendant BONGIOVANM



                                                                              utilized his
           ll.    It was part of the conspiracy that the defendant BONGIOVANM

    accesstoDEAdatabasesandinformation,meetingswithotherlawenforcementofrcersand
                                                    of 1aw enforcement techniques, methods,
    Assistant United States Attomeys, and lnowledge
                                                       in avoiding law enforcement scrutiny and
    and procedures, to advise and assist drug Eamckers

    detedion.



            12.Itwaspartoftheconspiracythat,inexchangeforbribeshereceived,defendant

    BoNGlovANNlprovidetlinformationtohiscoconspiratorsabouttheexistenceof

     investigations,thestatusofinvestigations,theidentityofcoopelators'andspecific
                          specific techniques utilized or under consideration
                                                                              in investigations
     information, including

     t}ratheleamedthroughhispositionasaDEASAandhisinteractionswithothermembersof

     law enforcement.
                                                   7
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         13.Itwaspartoftheconspiracythat'inexchangeforbribeshereceivedandto

  plotectthecontinuingdrugtraffickingoperationsofhiscoconspirators,afteropeningaDEA

  file,thedefendantBoNGlovANNlfeigredlegitimateinvestigationsothatinformation

   abouthiscoconspfuatols,andanyoneseekingtocooperateagainstthem,wouldbefunneled
                                                     enforcement to defer investigation of his
   towards him, and so inducing other members of law

   coconspirators to him'



           14.Itwaspartoftheconspiracythat,afterfeigringlegitimateinvestigationfora

   periodoftimesothatinformationabouthiscoconspirators,andanyoneseekingtocoopelate

   against them, would be funneled towards him, the defendant
                                                                    BONGIOVANM closed the
                                                                     paid plotection
   DEA file related to drug traffickers under defendant BoNGlovANM,s
                                                              to receive de<onfliction notices
   knowing that, even with the flte closed, he would continue

   related to individuals under his protection'



           15.    It was part of the conspiracy that, even 4fter the defendant BONGIOVANM
                                                          the defendant BONGIOVAITIM's paid
    closed the DEA file related to drug traffickers under
                                                                       that he had an active
    protection, he continued to represent to others in law enforcement

    investigationinanefforttodissuadeothermembersoflawenforcementfromcommencing
                                                                and coconspirators'
    and developing an investigation of his friends, associates'



                                                                                 made false
            16.    It was part of the conspiracy ttrat the tlefendant BONGIOVANM

    entriesandrepresentationsinDEAdocuments,andfalsestatementsandrepresentationsto

    other members     of law   enforcement,   in   order to protect his friends, associates, and

                                                             and potential incarceration'
     coconspirators from investigation, arrest, prosecution'



                                                    8
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                                             that the defendant BONGIOVANNI would
          17.  It was part of the conspiracy

   falselydenytootheragensoft}reDEAtheexistenceandextentofconnectionsbetween

   himselfandindividualsheknewtobeinvolvedinthepossession,use,distribution,and

   importationofcontrolledsubstances,andindividualshebelievedwereconnectedtoot

   associated with IOC.



                                                                             provided
          18.    It was part of the conspiracy that the defendant BONGIOVANM

                   to his   coconspirators and would instruct such individuals
                                                                               tlrat,        if   the
   cover stories

   communications or meetings between the defendant
                                                    and the coconspirators were ever

   questionedbylawenforcement,theconspiratorsshouldconcealthetruenatureoftheir

                          the   defendant BoNGTOVANNI             by   pretending   the   defendant
   relationship wittr
                                                          informans'
    BONGIOVANNI was recnriting such individuals to be DEA



          19. It was part of the            conspiracy   that' upon request' the          defendant


    BONGIOVANNI made efforts to         use his position as a   DEA SA to help coconspirators get

    out oftrouble with other law enforcement agencles'



                                                                                              would
           20. It was part of the consptacy that the defendant BONGIOVANNI
    concealhispossession,use,andtlistributionofcontrolledsubstances,thebribeshereceived,
                                                               coconspirators, and individuals who
    and the assistance he provided to his friends, associates,

                                                                 with IOC'
    he believed were members of, connected to, or
                                                  associated




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                                 OVERTACTS

          2l.Infirrtheranceoftheconspiracyandtoeffect.theobjectsthereof,thefollowing

   overt acts were committed in ttre Westem
                                            District of New York' and elsewhere' by the

   defendant and others.



          22.Betweeninorabout2008andinorabout20lT'Masecchia'workingwith
          paid the defendant BONGIOVANM' who accepted' bribes on a recurring basis
   other,

   totalingapproximatelyatleast$250,000inUnite.lstatescurrencyinexchangeforprotection

   ftom arrest and Prosecution   '




           23.    Between   in or    about 2008 and      in or   about      2017
                                                                                   ' the defendant
                                           investigations, including the status of specific
    BoNGIoVANNI provided information abour
                        potential witnesses' aud confidential sources
                                                                          during roudne
    investigative techniques'
                                              who were paying him bribes'
    recurring meetings with tlrug traffickers



                  On or about November 25' 2012' the
                                                     tlefendantBONGIOVANNI leamed that
            24-
                                          paying him bribes were arrested by the New
                                                                                     York State
    friends and associates of individuals
                                                      U'S' currency' and other items' and the
    Police in relation to the seizure of marijuana'
                                acquiring information about the arests
                                                                       and made
     defendant BONGIOVANM began

     arangementstoopenaDEAcasetotakecontrolofthecasefromtheNewYorkStatePolice.



            25.    onoraboutNoltember2S,2Ol2,thedefendantBoNGlovANMauthoreda
                                                    of DEA     Case   Number C2-13-0026
     DEA 6 summary report and caused the initiation




                                                   10
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                                                            BONGIOVANNI   caused11 of 45
                                                                                 the
          26.  On or about De cember 24,2012' the defendant

                                                      the file in DEA Case Number C2-13-
   preparation of DEA 202forms adding target names to
                                                     associates who were paying him bribes.
   0026, incruding the names of drug traffickers and



                  On or about December 24,2012'the defendant
                                                             BONGIOVANNI caused the
           2'1.
                                                                forms in DEA Case Number C2-
   DEA preparation and entry of three (3) separate DEL
                                                          202

                                                         Special Agent listed as the    co-case
    l3-O[26with signatures that do not belong to the DEA

    agent on tlre DE A 202 form'



                                                                        submitted names'
           28.     In or about Janu ary 2013' the defendant BONGIOVANNI
                                                associates who were paying him bribes,
                                                                                       and the
    incruding the names of drug traffickers and
                                                      a state de{onfliction system'
    defendant's contact information, to "safety-Net"'



                                                                     became aware of an
            29.    In or about April 2013, the defendant BONGIOVANNI

    individual,tnowntotheGrandJury,whocouldcooperateagainstthetlrugtrafEckerspaying

    thedefendantBoNGlovANMbribes,andthedefendantBoNGlovANNlsignedupthe

     individualasaDEAconfidentialsource(..cs)withhimselfasthehandlingagent.


                                                               BONGIOVANNI signed up the
            30.   On or about Aprn 29,2013' the defendant
                                                    agent for a period from April 29, 2013,
                                                                                            until
     individual DEA cS with himself as the handling

      Aprn29,2014.


                                                                C2-13-0026' the defendant
             31.    On or about M ay 2,2013' in DEA Case Number
                                                       who were paying the defendant
      BONGIOVANM indexed names related to intlividuals

      BoNGlovANNlbribestogrvetheappearanceoflegitimateinvestigationandsothatDEA
                                                   11
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   de-conflictiondatabaseprocedureswouldalerthimifothermembersoflawenforcementwere

   investigating the individuals and associates
                                                of individuals who were paying the defendant

   BONGIOVANMbTibeS



                  Between on or about Aprn29,2Ol3, and on
                                                          or about September 9' 2013' the
           32.
   tlefendantBoNGlovANNlensuredthattheCSprovidednocooperationagainstthedrug
                                            and             on   September   9'   2Ol3
                                                                                         '   the   defendant
    traffickers who wete paying him bribes'

    BoNGlovANMcausedthecompletionofformDEA-512(d)deactivatingtheDEACS.


                                                                 sent an email
            33.   On or about May 23' 2013' defendant BONGIOVANM

    regartlingDEACaseNumberC2-13-0026tomembersoftheUnitedStatesAttorney'soffice'

    westemDistrictofNewYork,andaSpecialAgentwiththelnternalRevenueService(IRS)
                                              street and will report back soon'"
    stating that "we are malong srides in the



            g4.                                            agent conducted surveillance on a
                   On or about June 18, 2013' a fellow DEA
                               york that was controlled by a coconspirator who was a source of
     warehouse in Buffalo, New
                                                         and after the fellow DEA agent made
     bribe payments to the defendant BONGIOVANM'
                                           agent was advised by the defend'ant BONGIOVANNI
     relevant observations, the fellow DEA

     to discontinue the surveillance '


                                                                              received an email
            35.     Qn or about July     ll'   2013'the defendant BONGIOVANNI

                                              advising him' in part' that "Masecchia
                                                                                     is an
      ftom a fellow member of law enforcement

      associateandpossiblymadememberoftheBuffaloLCNfamily,,,anloCgroupoperatingin

      Buffalo, New York, and elsewhere'


                                                       t2
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                                                                    sent an email to
          36. On  or about July 16, 2013' the defendant BONGIOVANNI

   membersoftheUnitedStatesAttomey,soffice,WestemDistrictofNewYork,andaSpecial
                                                 in the DEA Buffalo Resident Ofrce' that read
   Agent with the IRS, and copied his supervisor

   inpart..weareworkingonGPSwarrantfortrackerstolocatethesegrowoperation[srclaCI
                                                                             Joe'"
                              they are tuming the grow over in 8 to 9 weels'
   [conf,dential informant] reported


                                                                    notified the DEA CS
           37.    On or about July 30, 2013' deferulant BONGIOYANNI

                                           pursuant to BoNGTovANM's entry in
   helshe wourd be deactivated as a DEA cS

    Confidential Source Deactivation form DEA-512d'



                                                                de-activated the CS
           38.    Oo September g,2Ol3, the defendant BONGIOVANM

    whohadanabilitytocooperateinDEACaseNumberc2.|3-oo26,andfalselystatedinthe

    "ConfitlentialSourceDeactivation',formDEA.5l2d,,.TheCScannolongerprovideservices

    or information for any open investigatioa'"



                                         g' 2013' the defendant BONGIOVANNI caused the
            39.    On or about September

     preparationandentryof..ConfldentialsourceDeac.tivation,,formDEA-5l2dwithafalse
                                                   ageat'
     and fraudulent sigrature line for the co-case



                                                                 BONGIOYANM prepared a
            40.    On or about September 1l' 2013' the defendant

     DEA6reportinDEACaseNumbetC2-L34026ythereinhemadefalse,fraudulent,fictitious'
                                            .,Agents are presently waiting for approval from the
     antl misleading statem.,,6 as follows:
                                            utilized [sic] GPS trackers to aid in the
     United States Attomey's ofrce (WDND to

     investigation."


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                                                 defendant BONGIOVANM met
          41. On or about September 26,20t3, the

   othermembersoflawenforcementandanAssistantUnitedStatesAttomeyattheUnited
                 offEce for the Westem District of New York regarding
                                                                      in DEA Case
   States Attomey,s

   NumberC2-|3.0o26duringwhichmeeting,specificinvestigativetechniqueswerediscussed'


                                                                         made false
          42.    On or about December 31, 2013' the defendant BONGIOVANM

   and misleading statements in a DEA 6 report in
                                                  DEA Case Number C2-13-0026 '



                                                                      made false and
          43.     On or about April 7, 2014, the defendant BONGIOVANM
                                                  Case Number C2-13-0026 '
   misleading statements in a DEA 6 report in DEA



                                                                    made false and
          M.      On or about tuly 7,2014, the defendant BONGIOVANM
                                                   Case Number C2-13-0026'
    misleading statements in a DEA 6 report in DEA



                  Between on or about April 30' 20L3' andon
                                                            or about November 4' 2014' the
           45.
    defendantBoNGlovANMmadefalserepresentationsregardingDEACaseNumberC2-

     l3.oo26toothersinlawenforcementthathedidnothaveasourcewhocouldprovide
                                                 grow operatiom lsing controlled and operated
    information about the locations of marijuana
                                                      bribes'
    by those who were paying the defendant BONGIOVANM



                                                                  during routine and recurring
            46.    Between in or about 2008 and in or about 2017'

     meetings with individuals paying the defendant
                                                    BONGIOVANM bribes' the defendant

     BoNGlovANNlpassedalonginformationregardingspecifictechniquesutilizedorbeing
                                                    in DEA Case Number C2-13-0026'
     considered by other members of law enforcement



                                                 l4
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                                                                                  theof 45
         47 ,  During conversation with other members of law enforcement involved

   investigation of DEA Case Number c2-13-0026, the defendant BONGIOVANNI
                                                                          falsely


   stated that he did   rot have a confidential informant and, as a result, marijuana grow locations
                                                                        c2-13-0026.
   could not be located to further the investigation in DEA Case Number



          48.OnoraboutNovember4,2014,tnprepantionforclosingDEACaseNumber

    C2-13-0026, the defendant       BONGIOVANM prepared a DEA 6 report wherein he made
                                                                        "The confidential informant
   false, ftaudulent, fictitious, and misleading statements as follows:

   associated with this caselfile is no longer viable and can
                                                              not provide credible information in

                                                               gepare this case for closure'"
   furtherance of this investigation. This agent will not [srd



                                                                           prepared a
            49.    on or about January 28,2015, the defentlant BoNGIoYANNI
                                                                      DEA file related to
    DEA 6 report in DEA Case Number c2-13-0026 officially closing the
                                                               who were paying him bribes
    investigation of individuals and associates of individuals
                                                                                                '




                                                                                            prepared a
            50.    on or about January 28,2015, the defentlant BoNGIoVANNI
                        ..Defentlant Disposition Report', wherein he made false, fraudulent, fictitious'
    DEA 210 form

    and misleading statements as follows:       "on   January 6,2015- [name redacted] plead in New

                                                      probation' "
    York State court and sentenced (sic) to 36 months



                                                                            BONGIOVANNI attended       a
            51.     On or about February       2l'   2016, the defentlant


    partyinToronto,Canadawithfriendsandassociatesinvolvedinpossession'use'and

     distribution of cocaine




                                                        15
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          52. In or about August 2016, the defendant BONGIOVANM used his position
                                           a member of a different federal   law enforcement agency
   a   DEA SA in an attempt to dissuade
                                                         frieads and associates'
   ftom investigating some olthe defendant BONGIOVANNI's



                                                                                   was a' DEA SA
             53. At various times while the defendant BONGIOVANM
   assigr.edtotheBuffaloResidentOffice,hepossessed'usedanddistributed'andobserved

   others possess, use, and distribute, cocaine'



                                           l,                         BONGIOVANNI's last day    as a
              54.   On or about February        2OLg, the defendant


    DEASAintheBuffaloResidentofficeduetohisretirementftomtheDEA,thedefendant

    causedhisDEAissuedcellulartelephonetobewipedcleansuchtlratalldatawasdeleted

       from the telePhone.



              55.OnadateunkrowntotheGrandJury'butbeforeonoraboutFebruaryl'2019'
                                     the defenttant BONGIOVANM removed the
                                                                           DEA
       without authorization or permission,

       workingfileinDEACaseNumberc2.l3.oo26,whichcontainedDEAdatabaseinformation

       (includingde.conflictiondatabaseinformation),administrativesubpoenasandresponses,

       cellulartelephonetollanalysis,andotherDEArecordsandproperty,includinganorganized

       CrimeDrugEnfolcementTaskForcesinvestigationinitiationformforOperationPastDue,

       fromtheDEABuffaloResidentofficeandstoredandconcealedthisDEApropefyinthe

       basement of his residence.



                      During the course of the conspiracy' defendant
                                                                     BONGIOVANNI advised a
                56.
                                                           and known to the Grand Jury' of a cover
        coconspirator, who was working with Masecchia
                                                             law enforcement] ever questioned [the
        story for their interactions, that is, if anyone [in
                                                       16
Case 0:21-mj-06112-AOV Document 1 Entered on FLSD Docket 03/01/2021    to 17
                                                                     Page
                                                           was talking     [theof 45
   coconsptatorl he should say that defendant BONGIOVANNI
                                                       informant'
   conspiratorl about becoming defendant BONGIOYANNI's



                                                                            of a federal                   search
          57   .    At times, including an occasion following the execution

   warant at defeldant BONGIOVANNI's                           residence      on June 6'   2019
                                                                                                  '   defendant

                                                 working with Masecchia and                           is   lnown
   BoNGToVANNI met with a coconspirator, who was

   totlreGrandJury,andailvisedthecoconsptatorttratifhewaseverapproached[bylaw
                    "I'll   coach you on it,   I'll   get you prepared'   "
   enforcement]



                                                            possessed quantities of marijuana'
           58.   On or about August 23, 2019' Masecchia
                                                      in bundled U'S' currency' eight firearms'
    cocaine, and other controlled substances, $27,g50

    variousroundsofammunition,anddrugparaphemaliaat5g0TMainstreet,williamsville,

    New York.
                                          18, United States Coile' Section
                                                                           371'
           All in violation of Title


                                                         COIJNT2

                                   (Corspiracy to Defraud the United States)

                                     The Granil Jury Further Charges That:
                                                                      and re-alleged                           and
               1.     The allegations of the Introducdon are repeated

     incorporated by reference as if set forth
                                               fully herein



                                                                 until in or about February 2019' the
               2.      Beginning in or about 2005 and continuing

                                             District of New York' and elsewhere' the
     exad dates being unln6wn, in the Westem

     defendants,     JosEpE BoNGrovANM,    and pETER GERA.E JR., did knowingly,


                                                               17
Case 0:21-mj-06112-AOV Document 1 Enteredagree
                                       conspire' and
                                                     on FLSD  Docket
                                                         together     with others' lnown
                                                                  and 03/01/2021         andof 45
                                                                                    Page 18
  willfully, antl unlawfrrlly combine'

   unknown:
                                                                                         (DEA)'
                                                         Drug Enforcement Administration
          a.        to defraud the United States and the

   anagencyoftheUnitedStates,byinterferingwithandobstructingbymeansofdeceit'craft,

   andtrickery,thelawfrrlandlegitimategovemmentalfunctionsandrightsoftheDEA'thatis:

                                                                   its affairs' and the transaction
                   i.          ttre right to have its business-and
                                                                  DEA conducted honestlv and
                               or *'t"irilii'i"il"t*-"i*'t            fraud' improper and undue
                               impartiaffy' free from corruption'
                               i"n"'il*"ilti""t"'                *rairment and obstruction; and
                                                       "t'r"-*ru
                                                                      faittrfirl' disinterested and
                   ii.         the right to the conscientious' loyal'
                                                                       and Performance of his
                               unbiased services, decisions, acuons
                               a'*''E      i"^atftndant' JOSEPH BONGIOVANNI' 1t'ttis
                                  id";p;;;;;EA             sA free from comrption' quttiulil'
                                i'"pd;ffiil;'
                               "fE                  ui*' ai'hon"ttv-ry3:d in dealing with
                                Oe pta   other law enforcement agencles;
                                          and


                                                                                                 of value to
                                                    comrptly to give' offer' and promise a thing
            b.           <lirectly and intlirectly'
                                                                   official act and to induce         a   public
     a public ofEcial, with intent
                                   to induce the performance of an

     officialtodoanactandomittodoanactinviolationofhislawfrrlduty,asoppornrnities
                                                                               and
                                      United States Code' Section 201(bXl)(C);
     arose, in violation of Title 18,
                                                                                           agree to
                                                        demand' seek' receive' accept' and
            c.      dtectly and indirectly' comrptly to
                                                                        for being influenced in              the
      receive and accept,        a ttring of value personally' in retum
                                                                        and omit to do an act tn
                  of an official act and for being induced to do an act
      performance

      violationofofficialduty,asopportunitiesarose,inviolationofTitle18,UnitedStatesCode'

      Section 20IOX2)(A) and 201(bX2)(C)'



                                                MANNERANDMEANS
                                                                                            below'
                                                          by the Manner and Means set forth
               3           The conspiracy was carried out



                                                            18
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         4.Itwaspartoftheconspiracythat'inordertobuildtrustandmaintaincontinutty
                                                            did not investigate his friends and
  witfi his coconspirators, the defendant BONGIOVANM
                                                                york, to shield his friends and
  associates and used his position as a
                                        DEA SA in Buffalo, New
                                                                        investigations'
  associates, and others, including the
                                        defendant GERACE' from criminal



                                                                   for payments he received and in
         5.        It was part of the conspiracy that' in exchange
                                                                                associates      of
                                              whom he believed were members and
   order to ingratiate himself to individuals

   IoC,thedefendantBoNGlovANMutilizedhispositionasaDEASAtoattemptto
   dissuadeothermembersoflawenforcement:ftomconductinginvestigationsofhis

   coconsptators,friends,associatesandindividualsthetlefendantbelievedtobeconnectedto

   orassociatedwithlOC,includingthedefendantGERACEandothers;andfromconducting

   investigationsintoanyindividualswhomayhavebeenabletoexposehiscriminalactivities

    andthoseofhisfriends,associates,andindividualsthedefendantbelievedtobeconnectedto

    or associated with IOC'


                                                                     for paymens he received' the
           6.        It was part of the conspiracy that' in exchange
                                                           gain and provide information
                               his position as a DEA SA to
    defendant BONGIOVANNI used

    toenablehiscoconspirators,friends,andassociatestocontinuetheirtlrugtraffickingactivities

    without disruption by law enforcement'


                                                                                              2005
                                                            various times between in or about
              7.     It was part of the conspiracy that' at
                                                                                  he leamed during
     and in   or   about 20lT defendant    BONGIOVANM provided information
                                                                            through participating in
     *re course of his duties   as a   DEA SA' including information leamed

     investigations, to the defendant GERACE'



                                                       19
Case 0:21-mj-06112-AOV Document 1 Entered on FLSD         Docket 03/01/2021 his
                                                                             Page  20 of 45
                                                                                position
         8. Itwas part ofthe conspiracy that defentlant BONGIOVANM used
                                                  including ftom the Federal Bureau of
   as a DEA SA to influence other federal agents,

   Investigation @BI) and the DEA,       to   dissuade them from investigating the defendant

   GERACE andPharaoh's.



          g.                                                        GERACE paid defendant
                 It   was part of the conspiracy that the defendant

                        cash bribes on a rec.oring basis to
                                                            protect trre defendant GERACE and
   B.NGT.'ANNI
    GERACE,sbusiness,Pharaoh,sGentlemen'sClubftomfederalnarcoticsinvestigations.



                     was part of the conspiracy that defendant
                                                               BONGIOVANM falsely
           10. It
                                             was defendant BONGIOVANM's source
                                                                               of
    represented that the defendant GERACE

                                                 and Pharaoh's ftom federal investigations'
    information to protect the tlefendant GERACE


                                                                                        falsely
           11. It was part of the conspiracy that the tlefenttant BONGIOVANM
                                               GERACE was defendant BONGIOVANM's
    represented to the DEA that the defendant
                                               traffickin€ activity in an effort to protect
                                                                                            the
    source of information about ongoing  tlrug

     defentlant GERACE an'l Pharaoh's
                                      from federal investigations'


                                                                                         would
            12. It was part of the conspiracy that the defendant BONGIOVANNI
                                                                                       between
             tleny to other agents of the DEA ttre existence and extent of connections
     falsely

     himselfanttindividualsheh:ewtobeinvolvedinthepossession'use'distribution'and
                                               intlividuals he believed were connected
                                                                                       to or
     imporration of controlled substances' and

     associated with IOC.




                                                    20
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         13. It was part of the conspiracy that the defendant BONGIOVANM provided
                   to his   coconspirators and would instruct such individuals
                                                                               that,      if   the
   cover stories
                                                        the coconspirators were ever
   communications or meetings between the defendant and
                                                                  the true natule of theil
   questioned by law enforcemelt, the conspirators should conceal

                   with the    defendant BONGIOVANM            by   pretending   the   defeadant
   relationship

   BONGIOVANM was recauittry such individuals to be DEA informants'



           14. It     was    part   of the   conspiracy   that, upon requesq the       defendant


   BoNGlovANNlmadeefforstousehispositionasaDEASAtohelpcoconspiratorsget

    out of trouble with other law enforcement agencres'


                                                                                           would
           15. It was part of the conspiracy that ttre tlefentlant BONGIOVANM
    concealhispossession,use,anddistributionofcontrolledsubstances,thebribeshereceived,

    andtheassistanceheprovidedtohisfriends,associates,coconspirators,andindividualswho
                                                               with IOC'
    he believed were members of, connected to,
                                               or associated




                                             OYERTACTS

            16.Infurtheranceoftheconsptacya(Idtoeffecttheobjecsthereof,thefollowing

    overtactswerecommittedinthewestemDistrictofNewYork,andelsewhere,bythe

     defendant and others.



            lT.Inorabout2005,defendantGERACEleamedinformationfromtheexecution

     of a DEA search warrant in which defendant
                                                BONGIOVANNI participated'




                                                   2l
Case 0:21-mj-06112-AOV Document 1 Entered on FLSD Docket 03/01/2021
                                                                 the Page 22 of 45
               Between in or about 2013 arrd in or about 2016'
                                                                     defendant
          18.
  BONGIOVANNI,acceptedcashbribesonarecurringbasisfromthedefendantGERACE

   in exchange for protection from arrest and prosecution'



           lg.    Between on or about November     l'   2009' and on or about November 3' 2009 '


   inresponsetoinformationhereceivedfromthedefentlantGERACE,thedefendant

   BoNGlovANNlcontactedtheUnitedStatesProbationofficeinanefforttointercedeon

   thedefendantGERACE,sbehalfandtohelpthedefendantGERACEmitigateanysanctions

   tlratmightbeimposedbytheProbationofficeforthedeferrdantGERACEviolatingtheterms
                                                    release'
   and conditions of his term of federal supervised



                   On or about November 6' 2009' the defend'ant
                                                                BONGIOVANNI authored an
           20.
    officialDEA6reportinwhichthedefentlantBONGIOVANMmadefalse'ftaudulent'

    fictitious,andmisleadingstatements,namely'thatthatthedefendantGERACEhadactedas

    aconfidentialsourceandhadprovidedinformationtotheDEAinnarcoticsinvestigations.



            2l.OnoraboutNovember6'200g'inttreDEA6reportreferencedabove'the
                                                              number for the defendant
    defendant    BONGIOVANM omitted documenting any telephone

     GERACE



             22.InoraboutNovember200g'thedefendantBONGIOVANMengagedin
                                             the defendant GERACE as a DEA confidential
     conduct and made statements portraying
                                                was not a DEA confidential source' in order
                                                                                            to
     source, when in fact the defendant GERACE
                                                      and potentially chargrng the defendant
     dissuade an FBI Special Agent from investigating

     GERACE with federal criminal offenses'
                                                   22
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                                                  Docket  03/01/2021
                                                    or about October 31'Page
                                                                         2018'23
                                                                               theof 45
          23.      Between on or about November 6' 2009' and

                                                              or memoranda any
   defendant   BONGIOVAI\M did not document in any DEA repors

   informationaboutthedefendantGERACEanddidnotdocumeltthesubstanceofanyin-

   person or telephonic contacts he had witlr t}re defendant
                                                             GERACE, who, for a period of time,

   wasonsupervisionbytheUnitedStatesProbationofficefortheWestemDistrictofNew
                                                      BONGIOVANNI lnew and had
   York and who was an inttividual whom the defendant

   reasontolnowwasinvolvedinpossession,use,aaddistributionofcontrolledsubstances,
                           be a member of' connected to' or associated
                                                                       with IOC'
   and had reason to believe to




                    On or about February 2l,2016' the defendant
                                                                BONGIOVANNI atteaded a
           24.
    parryinToronto,Canadawithfriendsandassociatesinvolvedinpossession'use'and

    distribution of cocaine.



                    In ol about June 2016, in response to another
                                                                  DEA SA in the Buffalo Resident
            25.
                                                      between the defendant GERACE and
    Office subpoena of phone records showing contacts

    the defendant BONGIOVANNI, the defendant
                                             BONGIOVANNI attempted to dissuade and

    discourageanotherDEASAftomfurtherinvestigatingthedefendantGERACEbyasking
                                                                                          SA to
                                                  making other comments to his fellow DEA
    his colleague if he "hatett Italians," and by

     dissuade and discourage the DEA sA ftom
                                             continuing to investigate the defendant GERACE

     and others.



               26.OnadateunkrowntotheGrandJury,inresponsetoatelephonecallfromthe

     defentlantGERACEafterastripperoverdosedondrugsatPharaoh'sinCheektowaga,New

     York,thettefendantBoNGlovANMadvisedthedefendantGERACEto..getherout,,of

     the gentlemen's club.
                                                   23
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                                                                 a voicemail    24 of 45
                                                                             message
                               4'           defenttant GERACE
         27 .  On or about May    2017
                                       'the
                                  DEA issued cell phone' as follows:
   on the defendant BONGIOVANNI's

                   "Hey Joe, it's Peter' Listen' if a                               :fl]i:
                                                      gu-y-1s de*inC-druSs lre': So1 1
                                                                                     a wav to
                   phone"'it's   il;;;   tl'"';; ont"oftr'ottrtacfones' Is there
                                "
                   ping it like p"#t";i\^h;;Jtt"v
                                                         tu' ttu where vou're at? I just want
                   to know if voril"'la'ai':ti'"i*
                                                      ntt' cive me a cail back 725'1931'"
                                                                                          you would
                                      responded                via text message, "Yes but
   to which the defenaant BSNGT9yANNI

   need a warrant to get a Ping
                                order'"



                                                           BONGIOVANNI was a DEA SA
             28.    At   various times while the defendant

    assigrredtotheBu0taloResidentOffice'hepossessed'usedandtlistributed'andobserved
                                         cocaine'
    others possess, use, and distribute'


                                                                                       authored and
                                                 the defentlantBONGIOVANM
              29.   On or aboutNovember 1' 2018'
                                                                                        statements
                              DEA  memorandum    in which he made false and misleading
     submined  an   internal
                                                                              defendant GERAGE]
                 ,,It shoultl be roown that any contact I have hatl with [the
     as follows:
                                                                         of random telephonic
              past was minimal in-person contact and primarily consisted
     in   the

     communicationbasedonthefactwewerechildhoodfriends.lwouldsometimesrandomly
                                                                                        plans
                                       at a restaurant or golf outing and have not made
     encounter [the defenttant GERACE]
                                      years'"
      to meet him socially in several


                                                                              authored
                                       10' 2018' the defendatrt BONGIOVANM
            30. On   or about December

                               DEA memorandum      wherein he made false and misleading
      and submitted an intemal

      statementsasfollows:..Ihaveandwillleportallcontactwith[tlretlefendantGERACEItoa
                                         past['1"
       DEA supervisor like I have in the



                                                       24
                                                          Docket 03/01/2021authored
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                                                                              Page 25
                                      2019'the defentlant
         31. On or about Janu ary 28'
                                                   he made false and         misleading statements
             an intemal DEA    memorandum wherein
   submitted
                                                  relationship with another
                                                                            DEA SA in the
                                         GERACE's
   regarding the nature of the defendant

   Buffalo Resident Office'


                                                                              last day as a
                                        1' 2019' the rlefendant BONGIOYANNI's
           32.     On or about February

    DEASAintheBuffaloResidentofficeduetohisretirementftomtheDEA,t}redeferrdant
                                                                          deleted
                                                                              data was
                                    telephone to be wiped clean such that a1l
                           cellular
    caused his DEA issuetl

    ftom the telePhone'


                                                                                 February L'2019'
                                       to the Grand  Jury' butbefore on or about
            33.    On a date unknown
                                                            BONGIOVANNI        removed the DEA
                                             the defeatlant
     without   authorization or permission'

     workingfileinDEACaseNumberC2-l3.0026,whichcontainedDEAtlatabaseinformation
                                                                               and responses'
                                        information)' administrative subpoenas
     (including de-confliction database

      cellulartelephonetollanalysis'antlotherDEArecordsandpropefiy'includingatOrgarized

      CrimeDrugEnforcementTaskForcesinvestigationinitiationformforoperationPastDue'

      fromtheDEABufialoResidentofficeandstoledalldconcealedt}isDEApropefiyinthe

      basement of his residence'


                                                                                       February l ' 2019 '
                                         between  in or about  2006' and on or about
                34.     At various times
                                                                                              a Schedule
                                               intent to distribute' and distributed cocaine'
                                possessed with
       tlefentlant GERACE

        II controlled   substance


                                                                                         female dancers
                                                in or about 2009 and in or about 2018'
              35.    At various times betqreen
                                                                                             subsances '
                                               inside  Pharaoh' s after ingesting controlled
                              have overdosed
        emploYed at Pharaoh's
                                                         25
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                                              continuing until at least in or about February
         36. Beginning in or before 2009' and

                                                    maintained the premises known as
    20rg, and later, defendant GERACE, lnowingly
                                located at 999 Aero Drive' Cheekowaga'
                                                                        New York' to
   Pharaoh's Geatlemen's Club,
                                                                                              for
                                                money to Pharaoh's employees in exchange
   faciftate prostitution; to provide drugs and
                                             others; and for use and tlistribution
                                                                                   of controlled
   sex  with the defendant    GERACE     and
                                                                            as Adderall'
               including  cocaine, cocaine base' and amphetamine also known
   substances,

             Ir  controlled substances,  and marijuana and heroin, Schedule I controlled
   schedure

    substances.

             AllinviolationofTitlels,Unite.lstatesCoile,section3Tl.

                                                COI'NT      3


                            (Conspiracy to Distribute Controlleil Substances)

                                  The Granil Jury Further Charges
                                                                  That:

                                                           and Count   I   are incorporated by reference
              1       The allegations of the Introttuction

     as   though set forth fullY herein'


                                                                                               2019' the
                                              2008' and continuing to in or about August
            2.      Beginhing  in  or  about

                        unknown     to  the Grand   Jury' in the Westem District of New York' and
     exact dates  being

                                                 BONGIOVANNI' did knowingly' willfully'
                                                                                                      and
     elsewhere,   the ttefentlant,   IOSEPE
                                                                                                      and
                           conspire,     and agree  with Michael Masecchia and others' known
     urlawfi,rlly combine,
                                                                                intent to distribute' and
                 to commit  the  following   offenses, that is, to possess with
     unknown,

      todistribute,1000kilogramsolmoleofamixtureandsubstancecontainingmarijuana'a
                          substance, and cocaine, a Schedule
                                                             II controlled substance, in violadon
      Schedule I controlled
                                                8al(aXl)' 841(bXlXA)' and 841@X1XC)'
      of Title 21, United States Code, Sections

                  AllinviolationofTitle2l,Unitedstatescode,Section846.

                                                       lo
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                                  CO      4

                                  (Public Official Accep' "rg a Bribe)

                                The Granil Jury Further Charges That:

                                                           Count   I   are incorporated by reference
          1        The allegations of the Introduction and

   as though set   forth fullY herein'



                                                              to in or about 2017' the exact dates
          2.       Beginning in or about 2008' and continuing
                                                                             the defendant'
         unknown to the Grand Jury' in the Westem District of New York'
   being
                              public ofEciar, directry and indirectly did
                                                                          comrptly demand,
   rosEpH BoNGrovANM,                a

                                                                            personally' in retum
                  accept, and agree to receive and accept something ofvalue
   seek, receive,

                                                    do an act in violation of his official
                                                                                           duty as
             induced   to  do  an  act and  omit to
   for being
                                                                                     paid at least
                 arose;   that is the  defendant' JOSEPH BONGIOVANM' was
   opportunities
                                                                               a DEA case flle; to
             in uniteal states  currency  to, among other acts, open and close
   $250,000

    openandcloseaDEACS;tocausetheissuanceofDEAadministrativesubpoenas;tocause
                                                                                  to make false
              of names, locations, and phone numbers in de-confliction databases;
    the entry

    andmisleadingentriesinDEAreporsandforms;tomakefalseandmisleadingStatements

    toothermembersoflawenforcement;toprovideinformationaboutfederalinvestigations,

    lawenforcementmethodsandtechniques,andtheidentityofindividualscooperatingand

    potentially cooperating with law enforcement
                                                 in order to conceal the tlrug trafficking

     activities,andtohelpsuchdrugtraffickingactivitiescontinue,ofintlivitluatsassociatedwith

     thedefendant,includingintlividualsthedefendantbelievedtobeconnectedtoandassociated

     withIOC

              AllinviolationofTitle18,UnitedStatesCoile,section20loX2XC).




                                                      27
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                                                cotNT      5


                                    (Public Official AcceP''rg a Bribe)

                                The Granrl Jury Futher Charges That:

                                                            Count 2 are incorporated by reference
             1      The allegations of the Introduction and

   as   though set forth fullY herein'


                                                                                  2019' the
                                                continuing to on or about June 6'
             2. Beginning in or about 2009' and

                                            Jury' in the Westem District of New
                                                                                  York' the
   exact dates being unknown  to the Grand

   defendant,JosEPEBoNGlovANNl,apublicofficial,directlyandindirectlydidcomlptly
                                  and agree to receive and accept
                                                                  something ofvalue personally'
   demand, seek, receive, accept,


   inretumbeinginfluencedintheperformanceofanofEcialactandforbeinginducedtodoan
                                                                                    that is the
           omit to do an act in violation of official duty' as oppornrnities arose;
   act and
                                           was paid united states curetrcy
                                                                              to, among other
    defendant, JosEpE        BoNGrovANNI,

    actsandomissions,omittoenforcethedruglawsoftheUnitedStatesagainstPeterGerace
                                                                      Cheelcowaga' New
                                      Club located at 999 Aero Drive'
    Jr., and against Pharaoh's Gentlemen's
                                                                 (FBD Special Agent (SA) that Peter
    york; to falsely advise    an Fedenl Bureau of Investigation

                                               source' thereby inducing the FBI
                                                                                 SA to abandon a
        Gerace  Jr. was  a DEA    confidential
                                                                                  Club; to provide
                  investigation into Peter Gerace Jr' and Pharaoh's Gentlemen's
        narcotics
                                             Gerace Jr'; to help Peter Gerace
                                                                                Jr' and Pharaoh's
        advice and information to Peter

        Gentlemen,sClubavoidfederalnarcoticsinvestigations;tomakesatementstohisco.worker,

        afellowDEASA,todissuadeanddiscouragethefellowDEASAfrominvestigatingPeter
                                                     statements to other members of
                                                                                    law
        Gerace Jr., and Pharaoh's; to
                                      make false and misleading
                                                                           and techniques; and' to
                      to provide information about law enforcement methods
         enforcement;
                                               continue'
         help such drug trafficking activities


                                                           28
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            AllinviolationofTiflels,uniteilstatescode,sections20lox2xA)and
  201OX2XC).



                                             COIJNT 6

                                  @aying aBribe to aPublic
                                                           Officid)

                                The Granil Jury Further Ctarges That:

                                                      and Count 2 are incorporated by reference
             1      The allegations ofthe lnuoduction

   as   though set forth fully herein'


                                                                                 2019' the
                                               continuing to on or about June 6'
             2.Beginning in or about 2009' and
                                           Jury' in the Westem District of New
                                                                                 York' the
   exad dates being unlnown to the Grand

    defendant,PETERGERACEJR.,did,directlyandindirectly,comrptlygive,offer,and
                                                                                      to
                                                     a DEA Special Agent' with intent
                  value to a public official' namely
    promise a thing of
                                                                              to do an act and omit
                                          act and to induce a public official
    induce the performance of an official
                                                                                     the defendant'
                                             dury, as oppornrnities arose; that is,
    to do an act in violation of his lawfu1
                                                                                             a DEA
                                                  bribe payments to Joseph Bongiovanni,
    PETER    GERACE JR. paid and facilitated

    SpecialAgent,inUnitedStatescurrencytoamongotheracts'tofalselyadviseanFederal
                                                                             JR'
                                            that the defentlant PETER GERACE
                                          Agent (SA)
    Bureau of Investigation (FBI) Special
                                            inducing the FBI SA to abandon
                                                                             a narcotics
     was a DEA confidential source, thereby
                                                                                       to
                                 PETER   GERACE    JR' and Pharaoh's Gentlemen's Club;
                  the defendant
        investigation into
                                          falsely stating that the defendant
                                                                             PETER GERACE JR'
        creare an official DEA 6 document
                                                                             PETER GERACE
                          to provide advice and information to the defendant
        was a DEA source;
                                                                              Club avoid
             to help the defendant PETER GERACE JR' and Pharaoh's Gentlemen's
        JR.;

        federalnarcoticsinvestigations;toinduceBongiovannitousehispositionasaDEASAto

        makestatementstohisco-workel,afellowDEASA,todissua&anddiscouragethefellow
                                                     29
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                                          PETER GERACE JR' and Pharaoh's; to make
  DEA SA from investigating the defendant
                                                                        to provide informadon
                                  to ottrer members of law enforcement;
  false and misleading statements
                                    techniques; to        help such drug traffrcking actlvrues
  about law enforcement methods and
                                                                                         the
                               statements in official DEA memoranda in order to minimize
   continue; and to make false

                                      and  the defendant PETER GERACE
                                                                          IR' as a means to
   relationship between Bongiovanni

   conceal   thet conspiratorial relationship     '
                                                                                                  and
                                                                States Coile' Sections 201(bX1XA)
             All in violation of Tifle 18' United
   20l(bx1xc).


                                                          COTINT   7


                                  (Maintaining        a   Drng-Involved Premises)

                                                                   That:
                                   The Granit Jury Further Charges
                                                                                         by reference
                                                            and Count 2 are incorporated
              1         The allegations of the Introduction

    as   though set forth fullY herein'



                                               2006' and continuing   until on or about December 12'
              2.         Beginning in or about

                                                     Grand Jury' in the Westem
                                                                                 District of New York'
     2019, the exact tlates being
                                  unknown to the
                                                                                               and
                                     PETER     GERACE       JR" did lnowingly' intentionally'
     and elsewhere, tlre defendant'
                                                                                       Gentlemen's
                                   a place' that is' the
                                                         premises known as Pharaoh's
     unlawfrrlly  use and maintain
                                                             york, for the purpose of manufacruring'
                    at 999 Aero Drive, cheektowaga, New
     club, located
                                                                                                also
                               cocaine' cocaine  base'   methamphetamine' and amphetamine
      distributing, and using

      loownasAdderall,schedulellcontrolledsubstances,andmarduanaandheroin,schedulel

      controlled substances'
                                                                                              anil   Title 18'
                                                2l' Uniteil     States Code' Section 856(aXl)
                  All   in violation of Title

         United States Code, Section
                                     2'
                                                                30
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                                 COTINT

                                                      Conlrolled Substances)
                         (Conspiracy to Distribute
                                                         Charges That:
                               The Granil Jury Further
                                                                        incorPor ated bY reference
                                           Introduction and Count 1 are
                                    of the
            1.      The allegaflons

   as   thouglr set forttr   fuly haein'

                                                                                 2019' the
                                             continuing to in or about February
                                    2009 and
         2. Beginning in or about                               York'  antl elsewhere' the
                                                       of New
               being unkrown' in the Westem District
    exad dates                                                       IR" did knowingly'
                                                     and PETER GERACE
                       BONGIOVANNI
    defendants, JOSEPE

    willfully,andunlawfrrllycombine'conspire'andagreetogethaandwithothers'lrrownand
                                                                     *":
                                  to commit the following offenses'        "
                            Jury'
    unknown to ttre
                     Granit                                                   ' ' cocaine'
                                                                                    ^^naittc cocalne
                                                 to distribute' and to
                   a' to possess with intent                           'listribute'


        base,methamphetamine'andamphetaminealsoknownasAdderall'Schedulellconuolled

        substances,andmarijuanaandheroin,schetlulelcontrolledsubstances,inviolationofTitle
                                                              and
                                             Sal(aX1)' and 841OX1XC);
         21, Unitett   States Code' Sections                                            maintain a place'
                                                               antt unlawfirlly use and
                          b'      to hrowingly' intentionally'


          thatis,thepremiseshlownasPharaoh'sGentlemen'sClub'locatedatgggAeroDrive'

          cheektowaga, New york, ror the       r*":'-":i::Xtj::tffi:J t:ffi;
                                                 and amphetamme
          cocaine base' methamphetamine'                                                substances'
                                                    heroin' Schedule
                                                                         I controlled
                                 and marijuana and
           conuolled substances'                                             846'
                                           21' Uniteil States Coile' Section
                      in violadon of Title
                   AII




                                                             31
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                                              couNT9
                              (Conspiracy to Commit Sex Trafrcking)

                                   The Granil JurY Charges That:
                                                                              exact dates being
                                          continuing to in or about 2018' the
           Beginning in or about 2009 and
                                                                             PETER
           in the Westem District of New York' and elsewhere' the defendaot'
  unknown,
                                                                            and agee with
          JR., <lid lnowingly' willfu[y' and urlawftrlly combine' conspire'
   GERACE

   others,knownandunloown,toknowinglyrecnrit'entice'harbor'Eansport'provide'obtain'
                                     aftecting interstate and foreigr
                                                                      co rmerce' persons' and
   and maintain by any means' in and

                                            anything of value' from
                                                                    participation in a venture
   to benefit, financially and by receiving

   whichhaselgagedinsuchacts,knowingandinrecklessdisregartloftlrefactthatmeansof
                                                                           means' would be used
                     force, fraud' and coercion' and a combination of such
   force, threats of

    tocausesuchpersonstoengageinacommercialsexacqinviolatiotrofTitle18,Unitedstates

    Code, Sections 1591(a) and 1591(bX1)'

             AllinviolationofTifle18'UniteilStatesCode'Section1594(c)'

                                                COUNT         10


                                           (Obstruction of lustice)

                                                                 That:
                                  The Granil Jury Futher Charges
                                                                                     by reference
                                     of the Introducdon and Count 1 are incorporated
              1      The allegations

     as   though set forth fullY herein'



                                                              in the Westem District of New York'
                                                                                                  the
               2      On or about November       4,   2074'

                                         knowingly falsifu and make false
                                                                          entnes                   rl
                        BONGIOVANNI' did
      defendant, JOSEPE

      recordsanddocumentswithintenttoimpede'obstruct'andinfluencetheinvestigationand
                            of a matter within the jurisdiction of the Drug Enforcement
      proper administration

                                                        5Z
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                                                                             JOSEPII
                                             States, that is' the defendant'
  Administration, an agency of the
                                    United

                         false and misleading starements in DEA 6 reporS he prepared
  BONGrovANNr, made

   relatingtothestatusofa.lrugtrafEckinginvestigationinDEACaseNumberC2.l3-0026and

   theviabilityandoedibilityoftheconfidentialsourcewhowasprovidinginformationtothe
                                                                   the DEA file and investigation
                 a drug trafficking organization in order to close
   DEA regarding

   intotheorganizationandshieldmembersaadassociatesoftheorganizationfromarrestand

   prosecution'
                                                   States Coile, Section 1519'
             AII in violation of Title 18' Uniteil



                                                COUNT     11


                                           (Obstruction of Justice)
                                                                      Ttat:
                                  The Granil Jury Further Charges
                                                                                      by reference
                                     of the Introduction and Count 1 are incorporated
              1      The allegations

     as   though set forth fully herein'


                                                                                  York' the
                                          28' 2015  in the Westem District of New
               2.     On or about January         '
     defendant,IOSEPEBONGIOVANNI'didloowingtyfalsiffandmakefalseentriesin
                                                                                                and
                                                                influence the investigation
             and documents with intert to impede, obstruct, and
     records
                                                                                  Enforcement
                           of  a  matter   within the jurisdiction of the Drug
     proper administration
                                  of  the  Unitetl States'  that is' the tlefendant' IOSEPE
      Administration, an agency

      BoNGlovANMmadefalseandmisleadingstatementsinDEA6reportsheprepared
                                                                                              and
                                       trafficking investigtion in DEA Case Number C2-13-0026
      relating to the status of a drug

          tlreviabilityandcredibilityoftheconfidentialsourcewhowasprovitlinginformationtothe

          DEAregardingadrugtraffrckingorganizationinoldertoclosetheDEAfileandinvestigadon


                                                         JJ
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  intotheorganizationandshieldmembersandassociatesoftheorganizationfromarrestand

  prosecuflon.
                                                  States Code, Section 1519'
         All in viotation of Title 18' Uniteil


                                               couNT    12
                                         (Obstruction of Justice)

                                                              That:
                               The Grand Jury Further Charges
                                                                                    by reference
                                   of the Introduction and Count 2 are incorporated
          1        The allegations

   as though set   forth fullY herein'


                                                                                York' the
                                                  in the Westem District of New
          2.        On or about November 1' 2018'

    defendant,JosEPEBoNGIoVANM,didknowinglyfalsi.ffan<lmakefalseentriesina
                                                                             investigation     and
                        with intent to  impede'  obstruct' and influence the
    record and document
                                                 the jurisdiction of the Drug
                                                                                 Enforcement
    proper administration of a   rnattet within
                                                             Deparrnent of Justice' OfEce
                                                                                           of
                               Security  Investigations' the
    Administradon, Homeland

    InspectorGeneral,andtheFederalBureauoflnvestigation,agenciesoftheUnitedStates'
                                                                  regarding the natule
                               BONGIOVANM' in an investigation
    that is, the defenttant, JOSEPE
                                        defendant and individuals
                                                                      involved in drug trafficking
     of the relationship   betrveen the
                                                                                 of such individuals'
                           peter Gerace Jr., and the drug trafficking activities
     activities, including

     madefalseandmisleadingstatementsinamemorandumrelatingtothenatureofhis

     relationshipandextentofhiscommuoicationswithPeterGeracelr.inordertocovelup,
                                                                                        between the
                             justification for'  and misrepresent the true relationship
     mislead, create a false
                                                and Peter Gerace Jr'
     defenttant JOSEPE BONGIOVANNI
                                                    States Coile' Section 1519'
             AII in violatioa of Title 18' Uniteil



                                                        34
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                                             cotINI     13
                                        (Obsruction of Justice)
                                                              That:
                               The Grand Jury Further Charges
                                                                                    by reference
                                  of the Introttuction and Count 2 are incorporated
           1      The allegations

  as   though set forth fullY herein'



                                                     the Westem District of New
                                                                                  York' the
                                       10' 2018' in
         2. On or about     December

                                          did lnowingly   falsi$ and make false entries in a
   defendant, JOSEPH BONGIOVANNI'
                                                                                         and
                                   to impede'  obstruct' and influence the investigation
   record and document with
                            intent

                                    within the      jurisdiction of the Drug Enforcemeat
   poper administration of a matter
                                                    the Deparunent of Justice'
                                                                               office of
                            security Invesdgations,
   Administration, Homeland

    InspectorGeneral,andtheFetleralBureauoflnvestigation,agenciesoftheUnitedStates'
                                                                   regarding the nature
                                BONGIOVANNI' in an investigation
    that is, the tlefendaut, JOSEPE
                                the tlefendant JOSEPE BONGIOVANNI and individuals
    of the relationship between

       involvedindrugraffickingactivities'inclutlingPeterGeraceJr''andttredrugtrafficking
                                                                 statements in a memorandum
                  of such individuals' made false and misleading
       activities

       relatingtothenatureofhisrelationshipandextentofhiscommunicationswithPeterGerace

       Jr.inordertocoverup,misleatl,c.Ie[teafalsejustificationfor,andmisrepresentthetrue
                                                 BONGIOVANM        and Peter Gerace Jr'
                          the defendant IOSEPH
       relationship between
                                                      States Code' Section 1519'
               All in violation ofTitle 18' Uniteil




                                                        35
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                                 COTINT 14

                                          (Obstruction of Iustice)

                                                               That:
                                The Grand Jury Further Charges
                                                                                    by reference
                                                       and Count 2 are incorporated
          1        The allegations of the Introduction

   as though set   forth frillY herein'


                                                                                York' the
                                January 28' 2llg  in the Westem District of New
           2.       On or about                 '
   defendant,JOSEPEBONGIOVANM'didknowinglyfalsi$andmakefalseentriesina

   recordanddocument$'ithintenttoimpede'obstruct'andinfluencetheinvestigationand
                                              the jurisdiction of the Drug
                                                                            Enforcement
                          of a rnatter within
   proper aalministration
                                                     the Department of Justice'
                                                                                office of
                             Security Investigations,
    Administration, Homeland

    InspectorGeneral,andtheFederalBureauoflnvestigation'agenciesoftheUnitedStates'
                                                                  regarding the nature
                               BONGIOVANM' in an investigation
    that is, ttre tlefendant, JOSEPE

    oftherelationshipbetweentheilefentlantandindividualsinvolvedindructrafficking
                                                                             of such intlividuals'
                       Peter Gerace Jr'' and the drug trafficking activities
             including
     activities,

     madefalseandmisleadingstatementsinamemorandumrelatingtot}renatureofhis

     relationshipandextentofhiscommunicationswithPeterGeraceJr.,inordertocoverup,

     misleatl,deateafalsejustificationfor,andmisrepresentthetruerelationshipbetweenthe

      defendantJosEPHBoNGlovANMandPeterGeraceJr.andtomisrepresentthetrue
                                                          and a DEA Special Agent
                                                                                  known to the
                                         Peter Gerace Jr'
      natue of the relationship befiveen

      Grand JurY.
                                                                           1519'
                    in violation of Title 18' United States Cotle' Section
                AII




                                                          36
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                                                 cotrNT   15


                                          (Obstruction of Justice)

                                                         Charges That:
                                 The Granil Jury Further
                                                          and Counts       I   arrd   2 are incorporated by
             1        The allegations of the Introduction

                                 frrlly herein
   reference as though set forth


                                                                                February            l'   2019'
                                     date unloown but no later than on or about
             2.       Beginning on a


   toonoraboutFebruaryS'z[lg'intheWestemDistrictofNewYork'thedefendant'
                                                                    and                     a record
                                       tli<l knowingly alter'
                                                              destroy' mutilate and conceal
   JOSEPE BONGIOVANNI'
                                                                                         proper
                                           obstruct' and influence the investigation and
                                to impede'
    tangrble object with intent

    administrationofamaEerwit}rinttrejurisdicdonoftheDrugEnforcementAdministration'

    HomelandSecuritylnvestigations'theDepartrnentofJustice'OffrceoflnspectorGeneral'
                                                               States, that is' the defendant'
                                       ageocies of the unitett
                            of Investigation,
     and the Federar Bureau

     IosEPEBoNGlovANNl,inaninvestigationregardingthenatureoftherelationship
                                                                                        and the drug
                                               involved in drug trafficking activities'
                              and indivfuluals
     between the defendant
                                                                                           his DEA-
                                                 did cause the contents of' and data on'
                                   indivitluals'
     uaffrcking activities of such
                                to be deleted'
      issued cellular telephone
                                               UT ite'l States Coile'
                                                                      Section 1519'
                 All in violation of Title 18'




                                                     couNT       16

                                                (Obsrruction of Justice)

                                                             Charges           Ttat:
                                      The Grand Jury Further
                                                                                           by reference
                                          of the Introduction and Count 1 are incorporated
                  1       The allegations

        as   thouglr set forth firlly herein'


                                                            37
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                                                    no  later than on or about February l'2019'
         2. Beginning on a date unknown' but
                                                                                             the
                                 luoe  6'  2llg    in  the  Westem District of New York'
  and continuing to on or about                 '
                                           did    loowingly     conceal and cover up records'
  defendant JOSEPE BONGIOVANNI'
                                      with  intent    to  impede,   obstruct, and influence the
                             objects,
   documents, anal tangible
                                                                                            Drug
                                           of  a   matter    wrthin the jurisdiction of the
   investigation and proper administration

    EnforcementAdministration,HomelandSecuritylnvestigations,theDeparunentofJustice'
                                                                          agencies of the united
                                  and the Federal Bweau of Investigation,
    office of Inspector General,
                                                                                              the
                                             BONGIOVANNI'      in an investigation regarding
                                    JOSEPE
    States, that is, the defendant'

    natureoftherelationshipbetweenthedefendantandindividualsinvolvedindrugtrafficking

     activities,andthedrugnaffickingactivitiesofsuchintlividuats,dirlunlawfullytake,remove'
                                                                         in his residence'
                  store the working fite in
                                            DEA Case Number C2-13-0026
     conceal, and
                                                                Section 1519'
                   violation of Titte 18' Uniteil States Coile'
            All in


                                              corJNt    17
                                    .
                                                         of the Uniteil States)
                         (False Statements to ?n Ageilcy
                                                        Charges That:
                                The Granil Jury Further

                                            the Westem Distnct of
                                                                  New York' the defendant'
                         March 29' 2019' in
             On or about

       IoSEPHBoNGIoVANNI,inamatterwi*rinthejurisdictionoftheexecutivebranchofthe

       UnitedStates,didwillfullyandtnowinglymakemateriallyfalse'fictitious'andfraudulent
                                                      Departrnent of Iustice'
                                                                               ofrce of the
                                     to special agents of the
       satements and representations

       InspectorGeneral,inthatthetlefenttantdeniedeverwimessingPeterGeraceJt''consume

       narcotics;thetlefendanttleniedthatPeterGeraceJr'evercalledhimwhileastaffmemberor
                                                                                     Jr'; and
                                                            operated by Peter Gerace
                                        at the gentlemen's club
        customer was acdvely overdosing

        thedefendantdeniedeverinitiatingcontactwithPeterGeraceJr.,whereasintrutlrandin

        fact,andasthedefendantthenandtherewelllnew,thedefenttanthadwigressedPeterGerace
                                                      38
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                                               call  the defendant  while  a staff member
                               Gerace Jr' did
  Jr. consume narcotics; Petel
                                                                     Peter Gerace Jr'
                                    previously initiate contact with
             and the defendant tlid
   overdosing;
                                                                          1001(aX2)'
                                               Umted States Code, Section
          All in violation of Title   lE
                                           '


                                                   Co        8

                                                       of the Unite'l States)
                        (False Statemefis to an Agency
                                                       Charges That:
                               The Granil lury Further
                                                                of New York' the          defendant'
           On or about June     6' 2019' in the Westem District

    JoSEPHBoNGIoVANNI,inamatterwithintlrejuris<lictionoftheexecutivebranchofthe

    UnitedStates,didwillfullyandlnowingtymakemateriallyfalse'fictitious'andftaudulent
                                                                                 of the
                                                                        of Justice' Office
                                    to special agents of the Deparrnent
     statements and representations

     lnspedorGeneral,andHomelandSecuritylnvestigationsinthatthedefendantstatedas

     follows:
                                                                        Gerace Jr';
                             he was  in a close relationship with Peter
             (i) he deuied
                                                                          Jr' in over a year;
                           had  not spoken   with defendant Peter Gerace
             (ii) that he
                                                                Coconspirator 2' a person
                                                                                           loown to the
                                        attended  a party with
              (iii) that he had never

      Grand JurY;

                (iv) that he never socializedwithCoconspirator3,apersonknowntotheGrandJury'

                              any trips together;
       and they never went on
                                                                                                because
                                                   was in the defendant's telephone
                 (v) that Coconspirator 3's number
                                                    landscaping;
       Coconsptator     3 had done ttre defendant's
                                                                                  antl that the defealdant
                                Gerace Jr' once tried to cooperate with the DEA
               (vi) that Peter
                                                               Gerace Jr' personally;
                 himself  at the dme because he knew Peter
        recused
                                                                 defendant were together'
                                                                                            with others' a
                                            Gerace   Jr' and the
                (vii) that defendant Peter
                                                             chance encountel;
                                   around the 4th of July by
        few years ago at Lake Erie
                                                            39
Case 0:21-mj-06112-AOV Document 1 Entered on FLSD Docket 03/01/2021 his
                                                           Number   C2-13'0026  in Page  40 of 45
                                                                                       house
                                                DEA   Case
        (viQ that he kept the frte regarding
                                                                                      wanted
                                  he thought it wor d come up again and the defendant
                             antl
  because it was an old case

                            on the up and up; and
   to verifi everything was
                                           the source in DEA Case
                                                                   Number C2-13-0026;
         (ix) that Peter Milliteflo was
                                                              and there well lnew'
            in truttr antl in fact' and as the defendant then
   whereas
                                               with Peter Gerace Jr';
          (i) he did have a close relationship
                                                                preceding year;
                                          Gerace Jr' within the
          (ii) he had spoken with Peter

           (iii) he di<l attend   a   party with Coconspirator 2;

                                                    3 and they were on
                                                                         a   trip to Toronto' Canada
           (iv) he did socialize with Coconspirator

    together;                                                                           a-' .7^.

                                               in his telephone for reasons other than lan'lscapmg;
                                          was
            (v) Coconspirator 3's number
                                                                                                not
                                          try to  cooperate  with DEA and the defendant did
            (vi) Peter Gerace Jr' did not

     recuse himse8
                                                                                           the 4th
                                           defendant were not together at Lake Erie around
            (vii) Peter Gerace Jr' and the

                              by chance encounter;
      of luly a few years ago
                                                                                  in his house to
                                             regarding DEA Case Number C2-13-0026
             (viii) he did not keep the file
                                   up and up; and
      veriff everything was on the
                                                                       Number C2-13-0026'
                         Millitello was not  the source in DEA Case
              (ix) Peter
                                                       States Coile' Section
                                                                             1001(aX2)'
                     violation   ofTitle l8'  Uilite'l
              All in




                                                            40
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                       FIRST FORFEIT[JRE ALLEGATION

                                                 @roceeils)

                                      The Granil JurY Alleges That:

                                     all of the offenses set forth in Counts 1' 4 and 5 of this
         Upon conviction of any or
                                                                                 shall forfeit to
                                   the defendant'   JOSEPH BONGIOVANNI'
   Second Supersetling Indictment'
                                                                        or is derived from proceeds
                      any property' real or personal' which constitutes
   the United States,

   traceabletotheoffense'Thepropertytobeforfeitedincludes'butisnotlimitedto'the

    following:

    MONETARYTUDGMENT:
                                                                                            which
                        The sum of two hundred
                                                and    ffi    thousand a3Uars-^(J,ZjO'OO0)'
                                                                                        JOSEPH
                                              tl'"';t ;;iJ;ount
                        sum is equal to or less
                                                                        of proceedsthat
                                                                                              he is
                        BONGIOVANNI oUtu*to ""t "
                                                             t*"it "f *'t "f"nses'for which
                                                    i' f"i" t'""        that the above sum not
                                                                                             is
                        charged in Counts 1, + a1q                          u*o"" *i11 be entered
                        available, then a money 1ut;#
                                                          ilil'u*t
                        against the defendant'


                                                    above' as a result       of any act or omission of the
            If       any of ttre property described

     defendant;

                                                      exercise of due diligence;
             1.          cannot be located upon the
                                                                                      person;
                             been transferred or sold  to' or deposited with' a third
             2.          has

                                                 the   jurisdicdon of the Court;
             3.           has been placed beyond

                                                 diminished in value;   or
             4.           has been substantially

                 5        hasbeencommingledwithotherplopertywhichcannotbedivided
                          without difEcultY;

       tlreUnitedStatesofAmericashallbeentitledtoforfeitureofsubstitutepropertyplr$uantto
                                                                                         States to seek
                                     Section 853(p)' and it is the intent of the Unitett
       Title 21, United States Code'
                                                                                            judgment'
                               property of saitt tlefendant up to the value of the monetary
       forfeiture of any other



                                                             41
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         AllpursuanttoTitle18,UnitedstatesCoile'Section981(aX1XC)'Title2l'Uniteil
                                                                            2451(c)'
         Coile, Section 853(p), anil Title 28' Utdteal States Code, Section
  States



                            SECOND FORFEITI,JRE
                                                ALLEGATTON

                                          (Firearms aad Ammunition)
                                                                 That:
                                 The Granil Jury Further Alleges
                                                                           Indictment'            the
                           of any or all counts of this Second SuperseOing
           Upon convictiou

   defendants,IosEPllBoNGlovANNl,shallforfeitallofhisright,title,andintelesttothe

   UnitedStatesinanyfuearmsandammunitioninvolvedandusedinthecommissionofthe

   offense,orfoundintheirpossessionorundertheirimmediatecontrolatthetimeofarrest'

    including, but not limited
                                 to   :


                                                                     Place' Kenmore' New
                              on or about June 6' 2019 from 85 Alder
    Seized by law enforcement
    York:
                                        bearing serial number BNM009U and Glock 23 and
           a      One Glock 23 handgun
                  Glock magazmes;
                                                ammunlfion;
            b        Nine rounds of '40 caliber
                                                    Magnum handgun                bearing serial number
            c        One Smith & Wesson 681-2' '357
                     217X3; ar,d
                                                ammumuon'
             d.      Four -38 Special rounds of
                                                                        g24dq Mn 3665'        alil Title
                                                 States Coile' Sections
             All   pnrsuaat to Title 18' Uniteil

                               Section 2/51(c)'
      28, United States Coile,




                                                                  Alleges That:
                                          The Granil Jury Fnrther
                                                                                       8 of this
                                       or both of the offenses alleged in Counts 7 and
            Upon convicdon of either
                                                                                   forfeit to the
                                      the defentlant' PETER GEBACE JR" shall
       Second Superseding Indicunent'

                                                            42
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  UnitedStatesanyploperty,realorpersonal,whichconstitutesorisderivedfromproceeds
                                                 property used, or intended to be used, in any
  traceable to the ofiense of conviction and any

  mannelolpart,tocommit,ortofacilitatethecommissionofsaidviolation,butnotlimited

  to the following:


               A.   REALPROPERTY

         a. rhe          premises,  099'ff;,?'J[3Xlr!]
                    real ProPertY and   fixt                         fllfffi:llaffi:]U
                                                                  and   filed        Erie
                                                                                      recorded in
                    New York urA  -o" ilUy Jttcribed in a deed
                                                               11162 of Deeds at Page
                    Cotn V Cf.*', Om"t, o-'l*t 1' 2009 in Book
                    6131; and
                                                              improvements' fixtures' and
          b.        The premises, buildings, appurtenances '
                                                                Clu"o"e' N9w vor! a3i
                    real property to"utr:a-il'sf6 Lexor Lane'
                    more fully describ.d   ;;;;   fiLd and recorded in Erie countv Clerk's
                    ild"., l"rv Zz, zOiS in nookll332 of Deeds at Page 3550'
                             ""
          If the property described above,        as a result   ofany act or omission of the defendant:

                                                           due diligeace;
          (1)       cannot be located upon the exercise of
                                                                        with'   a   thtd person;
                    has been transfered or sold to, or
                                                       deposited
          a)
                     has been placed beyoud the
                                                     jurisdiction ofthe Court;
           (3)
                                                       in value;        or
           (4)       has been substantially diminished
                                                                                           without
           (5)       has been commingled       with other property which cannot be divided

                      difficulty;

    theUnitedStatesshallbeentitledtoforfeitureofsubstituteFopertypulsuanttoTitle2l'

    United States Code, Section 853(P)

            AllpursuanttoTitle2l,UniterlstatesCoile,SectionsS53(a)(l),853(aX2),and

    8s3(p).




                                                          43
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                      FOIJRTE FOR}EITI,JRE ALLEGATION

                                    The Granil Jury Further Alleges That:

          upon conviction of the offense alleged in count 9 of this Second                     Superseding


   Intlicunent, the defendant, PETER GERACE JR., shall forfeit to the united
                                                                             states any

                                                                                       to the
   property, real or personal, which constitutes or is derived from proceeds traceable

   offense of conviction and any ploperty used, or intended to be
                                                                  used' in any maruler or part'

                                                                     not limited to the following:
   to commit, or to facilitate the commission of said violation, but


              A.   RXALPROPERTY

                   a                        buildings, appurtenances, improvements' fixtures' and
                             The premises,'located
                             r*f p-p.tty           it 999- Aero Drive, Cheektowaga' New York'
                                 iioi.niuv described in a deed filed and recorded in Erie County
                             "J
                             Cl"*t Om*, on June 1, 2009 in Book 11162 of Deeds atPage 6131;
                             and
                                                                                         fixtures' and
                   b         The premises, buildings, appurtenances, imp,rovements'
                                                                                      N,ew York' and
                             ;;;t;p""y iocut d u:t slii Lexor Lane, clarence,     Erie County Clerk's
                                   n iv a.t".lUed in a deed filed and recorded in
                             -6ffi;.;";
                             -".,i
                                        tuiry 27 ,2018 in Book 11332 of Deeds at Page
                                                                                        3550'



           If the property described above,      as a result   ofany act or omission of the defendant:

           (l)     cannot be located upon the exercise of due diligence;

                   has been transfered or sold to, or deposited        with'   a   third person;
           Q)                                                                                      .



           (3)     has been placed beyond the       jurisdiction of the Court;

           (4)     has been substantially diminished in value;         or

           (5)     has been commingled         with other property which cannot be divided without

                       dfficultY;

    theUnitedStatesshallbeentitledtoforfeitureofsubstitutepropertypursuanttoTitle2l'

    United States Code, Section 853(P)




                                                        44
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         All   pursuant to Tide 18, United States Code, Sections f594(dxf) afi1594(d)Q),

   aridTitle2l, United   Stat€s Code, Section 853ftr).


         DATED: Buffalo, NewYork, February 25,2021.



                                              JAMES P. KENNEDY, JR.
                                              United States Attomey


                                       BY:    S/JOSEPH M. TRIPI
                                              Assistant United States Attomey
                                              United States Attomey's Office
                                              Westem District of New York
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                                              Buffalo, New York 14202
                                               716/843-5839
                                              joseph.tripi@usdoj.gov


                                              COREYR. AMI.]NDSON
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                                              Washington, D.C.20002
                                              202/s97-0508
                                              jordan. dickson@usdoj. gov




   A TRUE BILL:

   S/FOREPERSON




                                                 45
